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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

                                                   Civil Action No. __________________
RICHARD M. ZELMA and NICOLE ZELMA
                                                           Document electronically filed
                      Plaintiffs,
                                                            NOTICE OF REMOVAL
       v.
                                                   [Previously pending in the Superior Court of
PATRICK BURKE, individually; BRUCE                 New Jersey, Bergen County, Law Division,
BURKE, individually, PATRICK BURKE, as             BER-L-2795-16]
CEO of Computer Telephony Innovations,
Inc.; BRUCE BURKE, as Chairman and
Senior Officer of Computer Telephony
Innovations, Inc.; and COMPUTER
TELEPHONY INNOVATIONS, INC. d/b/a/
VOXTELESYS.COM

                      Defendants.


TO:    THE JUDGES OF THE UNITED STATES DISTRICT COURT
       FOR THE DISTRICT OF NEW JERSEY

       PLEASE TAKE NOTICE THAT Defendants, Computer Telephony Innovations, Inc.,

VoxTeleSys LLC (improperly pled as “Computer Telephony Innovations, Inc. d/b/a/

VoxTeleSys.com”), Patrick Burke, and Bruce Burke (“Defendants”), by and through their

counsel, Gibbons P.C., respectfully request that this action be removed from the Superior Court

of New Jersey, Law Division, Bergen County to the United States District Court for the District



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of New Jersey under 28 U.S.C. §1441(a), on the grounds of federal question jurisdiction pursuant

to 28 U.S.C. §1331. In support of this Notice of Removal, Defendants alleges as follows:

                                          BACKGROUND

        1.      On or about April 1, 2016, Plaintiffs, Richard M. Zelma and Nicole Zelma

(hereinafter “Plaintiffs”), pro se, filed a Complaint against Defendants in the Superior Court of

New Jersey, Bergen County, Law Division, captioned: RICHARD M. ZELMA and NICOLE

ZELMA v. PATRICK BURKE, individually; BRUCE BURKE, individually, PATRICK

BURKE, as CEO of Computer Telephony Innovations, Inc.; BRUCE BURKE, as Chairman and

Senior Officer of Computer Telephony Innovations, Inc.; and COMPUTER TELEPHONY

INNOVATIONS, INC. d/b/a/ VOXTELESYS.COM, Docket No. BER-L-2795-16 (“State

Action”). A copy of the Summons and Complaint is annexed hereto as Exhibit A.

        2.      On or about April 11, 2015, Defendants received the Complaint in the State

Action. See Complaint, attached hereto as Exhibit A. 1

                     JURISDICTIONAL REQUIREMENTS SATISFIED

        3.      Plaintiffs contend that Defendants violated 47 U.S.C. §227(b) by allegedly

unlawfully using an automated telephone dialing and announcement device (“ADAD”) to initiate

unwanted telemarketing calls. See Exhibit A at Count One.

        4.      Plaintiffs further contend that Defendants violated 47 U.S.C. §227(c) by allegedly

initiating unwanted telemarketing calls to telephone numbers allegedly listed on national and

state do-not-call registries, soliciting Plaintiffs in violation of their privacy rights, and providing

allegedly incorrect and false information. See Exhibit A at Count Two.




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        Defendants do not waive the defense of insufficient service of process or lack of personal
jurisdiction in removing this matter.

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       5.      Plaintiffs further contend that Defendants knowingly or willfully violated 47

U.S.C. §227(c) by allegedly using an ADAD and initiating unwanted telemarketing calls using a

prerecorded sales script. See Exhibit A at Count Three.

       6.      Plaintiffs further contend that Defendants are liable for their claims pursuant to 47

U.S.C. §202 and 47 U.S.C. §206. See Exhibit A at ¶¶22-30.

       7.      Defendants are entitled to seek the removal of this matter, pursuant to 28 U.S.C.

§1446(a), as the State Action is a civil action of which the District Courts of the United States

have original jurisdiction by virtue of federal question jurisdiction granted by 28 U.S.C.§1331.

See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 753 (2012).

       8.      This Court also has supplemental jurisdiction, pursuant to 28 U.S.C. §1367, over

any state and common law claims asserted in the Complaint by Plaintiffs as those claims are so

related to the federal claims that they form part of the same case.

       9.      This matter is therefore properly removed to this Court, pursuant to 28 U.S.C.

§1441(a), because the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws or treaties of the United States. Venue is proper in the Newark

Vicinage, as the claims asserted by Plaintiffs were filed in the Superior Court of New Jersey,

Law Division, Bergen County.

       10.     Accordingly, this matter should be removed to the United States District Court for

the District of New Jersey by virtue of the provisions of 28 U.S.C. §1331 and 28 U.S.C.

§1441(a).

       11.     Defendants submit this Notice of Removal without waiving any defenses to the

claims asserted by Plaintiffs, and do not concede that Plaintiffs have asserted any claims against

Defendants upon which relief may be granted.



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                         REMOVAL REQUIREMENTS SATISFIED

       12.     As required by 28 U.S.C. §1446(b), this Notice of Removal is being filed within

thirty (30) days after Defendants received a copy of the Complaint, see supra at ¶¶ 1-2 & n.1,

that was filed by Plaintiffs in the Superior Court of New Jersey, Bergen County, Law Division.

       13.     Defendants have not filed a responsive pleading in the action commenced by

Plaintiffs in the Superior Court of New Jersey, Bergen County, Law Division against Defendants

and no other proceedings have transpired in that action.

       14.     This Notice of Removal is being filed in the District of New Jersey, the district

court of the United States for the district and division within which the state court action is

pending, as required by 28 U.S.C. §§1446(a) and 1441(a).

       15.     Promptly after filing this Notice of Removal with the District Court for the

District of New Jersey, a copy of this Notice of Removal, along with the Notice of Filing of

Notice of Removal, will be filed with the Clerk of the Superior Court of New Jersey, Bergen

County, Law Division pursuant to 28 U.S.C. §1446(d). A copy of both documents will also be

served upon Plaintiffs. A copy of the letter notifying the Clerk of the New Jersey Superior

Court, Bergen County, Law Division, of removal from state court, is annexed hereto as

Exhibit B.

       16.     Moreover, all Defendants consent to removal of this matter.

       17.     This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of

Civil Procedure, as required by 28 U.S.C. §1446(a).




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       WHEREFORE, Defendants respectfully request that this action be duly removed from

the Superior Court of New Jersey, Bergen County, Law Division, to this Court, and that it

proceed herein.

Dated: May 6, 2016                                 By:   s/ Michael R. McDonald, Esq.
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